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 4

 5                                UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA
 6

 7    JOSE DECASTRO                                        )   Case No.: 2:23-CV-00580
                                                           )
 8                           Plaintiff,                    )   MOTION BY PRO SE LITIGANT TO
                                                           )   OBTAIN ELECTRONIC-CASE
 9    v.                                                   )   FILING RIGHTS PURSUANT TO L.R.
                                                           )   IC 2-1(b)
10    LAS VEGAS METROPOLITAN POLICE                        )
      DEPARTMENT, et al.                                   )
11                                                         )
                                                           )
12                         Defendants.                     )
                                                           )
13    _____________________________________                )

14

15          As a party in the above-captioned matter, I, Jose DeCastro, respectfully request permission

16 from this Court to participate in electronic case filing (e-filing) in this case. I hereby affirm that:

17                 1. I have reviewed the requirements for e-filing and agree to abide by them.
                   2. I understand that once I register for e-filing, I will receive notices and documents
18          only by e-mail in this case and not by regular mail.
                   3. I have access to the technical requirements to e-file successfully.
19                 4. I understand that permission to file electronically may be revoked at any time.

20
     DATED: April 18, 2023                                 Respectfully submitted,
21

22                                                         _______________________
                                                           Jose DeCastro
23                                                         Pro Se Plaintiff


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